05/2023
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)


    Address of Plaintiff:          1815 S 18th Street, Philadelphia, PA 19148
                            1515 Arch Street 17 Floor, Philadelphia, PA 19102
    Address of Defendant:_______________________________________________________________________________________
                                                     Philadelphia
    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
                           n/a
      Case Number:______________________ Judge:________________________________ Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year
                 previously terminated action in this court?
                                                                                                                                                    Yes             No    ✔
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit

           3.
                 Pending or within one year previously terminated action in this court?
                 Does this case involve the validity or infringement of a patent already in suit or any earlier
                                                                                                                                                    Yes             No    ✔
           4.
                 Numbered case pending or within one year previously terminated action of this court?
                 Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                                                                                                                                                    Yes             No    ✔
                 by the same individual?                                                                                                            Yes             No    ✔
      I certify that, to my knowledge, the within case
      action in this court except as note above.
                                                                       is /✔     is not related to any now pending or within one year previously terminated

      DATE:                                    ____________________________________                                                  PA 323768
                                                                                                                               ________________________________
                                                      Attorney-at-Law (Must sign above)                                             Attorney I.D. # (if applicable)



      Civil (Place a √ in one category only)

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________

          ✔      9.
                 10.
                 11.
                     Labor-Management Relations
                     Civil Rights
                     Habeas Corpus
                                                                                               _____________________


                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. All Other Federal Question Cases. (Please specify):_____________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

            Andrew B. Austin
      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                          Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:

                 ✔        Relief other than monetary damages is sought.


                6/20/24
      DATE: ____________________________                              ______________________________________                                    PA 323768
                                                                                                                                        __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
